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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                             UNITED STATES DISTRICT COURT                                   April 14, 2022
                              SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


KRISTIN KING,                                     §
                                                  §
        Plaintiff,                                §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:18-CV-02245
                                                  §
KELSEY-SEYBOLD MEDICAL GROUP,                     §
PLLC, et al.,                                     §
                                                  §
        Defendants.                               §


                                      FINAL JUDGMENT

       Pursuant to the jury verdict returned and entered in this case, the Court enters a take nothing

judgment against the plaintiff Kristin King.

       This is a Final Judgment.

       SIGNED on April 14, 2022, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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